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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

                                                :
 MED-EL ELEKTROMEDIZINISCHE                     : Case No. 1:18-cv-01530-JDW
 GERATE GES.M.B.H., et al.,                     :
                                                :
                Plaintiffs,                     :
                                                :
 v.                                             :
                                                :
ADVANCED BIONICS, LLC,                          :
                                                :
                Defendant.                      :


                                            ORDER

        AND NOW, this 30th day of July, 2021, upon consideration of Plaintiffs and Counterclaim

Defendants MED-EL Elektromedizinische Geräte Ges.m.b.H. and MED-EL Corporation, USA’s

(together “MED-EL”) Motion for Partial Stays (D.I. 151), and for the reasons set forth by the Court

during a conference call with Counsel for the Parties, it is ORDERED that MED-EL’s Motion for

Partial Stays (D.I. 151) is GRANTED IN PART and DENIED IN PART. At the conclusion of

fact discovery, all claims concerning U.S. Patent Nos. 6,761,681, 8,155,746, and 7,267,847 are

STAYED.

        It is FURTHER ORDERED as follows:

        1.     The Parties shall complete fact discovery on or before September 30, 2021;

        2.     Affirmative expert reports for claims not subject to a stay are due by October 13,

2021;

        3.     Rebuttal expert reports for claims not subject to a stay are due by November 10,

2021;

        4.     Reply expert reports for claims not subject to a stay are due by November 24, 2021;
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       5.      The Parties shall complete all expert depositions for claims not subject to a stay on

or before December 17, 2021;

       6.      The Parties shall update Judge Wolson on the status of settlement discussions via

letter on January 7, 2022;

       7.      Motions for summary judgment concerning claims not subject to a stay shall be

filed on or before January 21, 2022. Responses shall be filed on or before February 18, 2022.

Reply briefs shall be filed on or before March 4, 2022, and sur-replies shall be filed on or before

March 11, 2022. Motions for summary judgment and all related briefs shall be filed in the form

prescribed in Judge Wolson’s Policies and Procedures and in accordance with the Court’s Local

Rules of Civil Procedure; and

       8.      The Parties shall notify the Court via letter within 7 days of a decision in any of the

remaining IPR-related proceedings, including any appeals.

                                                      BY THE COURT:


                                                      /s/ Joshua D. Wolson
                                                      JOSHUA D. WOLSON, J.




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